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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA


                v.                                      Criminal Action No. 21-285 (JEB)


 DAMON MICHAEL BECKLEY,

         Defendant.


                                             ORDER

       In connection with the breach of the United States Capitol on January 6, 2021, Defendant

Damon Michael Beckley is charged in Counts II, III, and IV of a Superseding Indictment with

civil disorder in violation of 18 U.S.C. § 231(a)(3); entering and remaining in a restricted

building or grounds in violation of 18 U.S.C. § 1752(a)(1); and disorderly and disruptive conduct

in a restricted building or grounds in violation of 18 U.S.C. § 1751(a)(2). See ECF No. 42

(Superseding Indictment) at 2–3. At trial, the Government intends to call witnesses from the

United States Secret Service to testify about the impact of the Capitol’s breach on the Secret

Service’s duty to protect the Vice President and his family, who were present at the Capitol that

day.

       The Government now moves in limine to foreclose questioning of these witnesses about:

(1) Secret service protocols related to the locations where protectees or their motorcades are

taken at the Capitol or other government buildings when emergencies occur; and (2) particulars

about the nature of Secret Service protective details, such as the number and type of agents the

Secret Service assigns to protectees. See ECF No. 47 (Govt. Motion) at 2. As to the second
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area, the defense submits that it does not plan to cross-examine Secret Service witnesses about

the nature of the protective details. See ECF No. 48 (Def. Resp.) at 2.

       That leaves just the first area at issue. The Court agrees that it would be inappropriate to

allow cross-examination of the Secret Service witnesses about general policies and practices

related to where protectees or their motorcades are taken in the case of emergencies. See Fed. R.

Evid. 611(b); see, e.g., United States v. Balistreri, 779 F.2d 1191, 1216–17 (7th Cir. 1985),

overruled on other grounds by Fowler v. Butts, 829 F.3d 788 (7th Cir. 2016) (upholding district

court decision to prohibit cross-examination on sensitive undisclosed portions of report of

investigation). Nor would such testimony be relevant. See Fed. R. Evid. 401. Information about

Vice President Pence’s whereabouts on January 6, however, is plainly relevant to the “restricted”

and “federally protected function” elements of certain counts. In any event, testimony from a

Secret Service agent regarding where the Vice President was taken at the time of the Capitol

breach has already been elicited in another January 6 case last year and is thus public

information. See United States v. Griffin, No. 21-92 (D.D.C.), ECF No. 105 (Mar. 21, 2022, Tr.)

at 223, 249–252 (explaining that Vice President Pence was escorted to Capitol loading dock

where he remained for “four or five hours” during siege). For that reason, the Government’s

national-security interests would not be compromised by a reexamination of the same issue here,

and Defendant will be allowed to cross-examine Secret Service witnesses to the extent they were

questioned in that previous trial.

       The Court, accordingly, ORDERS that the Government’s [47] Motion is GRANTED IN

PART and DENIED IN PART.
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                                                /s/ James E. Boasberg
                                                JAMES E. BOASBERG
                                                United States District Judge
Date: February 2, 2023
